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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:16CR3033
                                        )
            v.                          )
                                        )
MICHAEL H. MELCHIOR,                    )                   ORDER
                                        )
                   Defendant.           )
                                        )


      After de novo review, including especially filing no. 46,

      IT IS ORDERED that filing no. 63, notice of appeal of detention order, is
denied.

      DATED this 27th day of June, 2016.

                                       BY THE COURT:

                                       s/ Richard G. Kopf
                                       Senior United States District Judge
